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II      LAW OFFICES OF

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                                                     Octob r 13 , 2020

 ViaECF:

 Honorable Alvin K. Hellerstein
 United States District Court
 Southern District of New York
 500 Pearl Street
 New York, New York 10007

        Re: United States v. Valle, et. al.,
              Case No. 1:13-cr-00058 (AKH)


 Dear Judge Hellerstein:

         This office represents Defendant Jancey Valle ("Mr. Valle") in the above-referenced
 matter. We respectfully move to modify conditions ofMr. ,Valle's release, to allow him to leave
 his residence to participate in a re-entry program, do exerclse, laundry and grocery shopping.

        By Order dated July 23, 2020, this Court granted~- Valle's compassionate release
 "subject to home confinement" with "the ability to leave home for employment or to seek
 employment." (Doc. No. 753 at ,r 1.)

        Mr. Valle desires to leave his residence to particip te in programs offered by the New
 Jersey ReEntry Corporation, an organization that helps coI! victs remove barriers to employment
 and reintegrate into society.

         Mr. Valle also desires to leave his residence to tak . care of his health. As part of Mr.
 Valle's motion for compassionate release, we demonstrate d that he suffers from
                                                            1



 Hypercholesterolemia (high cholesterol) and Obesity. It isl thus, extremely important for him to
 exercise.

         Mr. Valle also desires to do his own laundry ands op for food and necessities, so that he
 is not dependent on others.

         I conferred with Probation Officer Afonso Fernan es who advised me that under the
 Court' s current Order (Doc. No. 753) Probation and Pretr+l Services may not grant Mr. Valle
 permission to leave his residence for the purposes listed a ,ove.
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Hon. Alvin K. Hellerstein
October 13, 2020
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       We, therefore, respectfully ask the Court to grant P obation and Pretrial Services
permission to allow Mr. Valle to leave his residence:
      1)   to participate in New Jersey ReEntry Corporation p ograms;
      2)   to go to the gym or park for purposes of exercising;
      3)   to go to the laundry for purposes of washing his clorhs; and
      4)   to go to the grocery or supermarket for purpose of s opping food and necessities.

        Notwithstanding the foregoing, Mr. Valle must noti y his probation officer of the location
of the New Jersey ReEntry Corporation he seeks permissio to go to, the date and time of each

Additionally, Mr. Valle's probation officer must approve t e gym, park, laundry and grocery or
supermarket, and the times when Mr. Valle may go there, ither each time prior to Mr. Valle
leaves his residence or his probation officer may set a sche , ule for Mr. Valle to adhere to.

       I conferred with Probation Officer Afonso Femand sand Assistant United States
Attorney Sarah L. Kushner, they do not object to the foreg , ing requests.


                                                        Respe , tfully submitted,

                                                        /s/ Leo old Gross



cc:        Sarah L. Kushner, U.S. Attorney's Office (via ECF)
           Afonso Fernandes, Probation Officer (via email)
